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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                               )
KRISTI COLEMAN                                                 )
     Plaintiff,                                                )
                                                               )
vs.                                                            )     Civil Action No.
                                                               )     11-CV-11116
                                                               )
CONTINENTAL SERVICE GROUP, INC.                                )
AKA CONSERVE                                                   )
     Defendant,                                                )
                                                               )
                                                               )


COMPLAINT AND DEMAND FOR JURY TRIAL


                                      I. INTRODUCTION

      1. This is an action for actual and statutory damages brought by Plaintiff, Kristi

         Coleman, an individual consumer, against Defendant, Continental Service Group,

         Inc., for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

         seq. (hereinafter ‘‘FDCPA’’), which prohibits debt collectors from engaging in

         abusive, deceptive, and unfair practices.



                                      II. JURISDICTION

      2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337.

         Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202. Venue in

         this District is proper in that Defendant transacts business here.




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                                    III. PARTIES

3. Plaintiff, Kristi Coleman, is a natural person with a permanent residence in South

   Boston, Suffolk County, Massachusetts 02127.

4. Upon information and belief Defendant, Continental Service Group, Inc., is a

   corporation engaged in the business of collecting debt in this state and in several

   other states, with its principal place of business located at 200 Cross Key Office

   Park, Fairport, Monroe County, New York, 14450. The principal purpose of

   Defendant is the collection of debts in this state and several other states, and

   Defendant regularly attempts to collect debts alleged to be due another.

5. Defendant is engaged in the collection of debts from consumers using the mail

   and telephone. Defendant regularly attempts to collect consumer debts alleged to

   be due to another. Defendant is a ‘‘debt collector’’ as defined by the FDCPA, 15

   U.S.C. § 1692a(6).



                           IV. FACTUAL ALLEGATIONS

6. Upon information and belief, Defendant began placing collection calls to Plaintiff on

   or before December of 2010.

7. The debt that Defendant is attempting to collect on is an alleged obligation of a

   consumer to pay money arising out of a transaction in which the money, property,

   insurance or services which are the subject of the transaction are primarily for

   personal, family, or household purposes, whether or not such obligation has been

   reduced to judgment.




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8. Within one (1) year preceding the date of this Complaint, Defendant, in connection

   with the collection of the alleged debt, stated to Plaintiff, “Your loan is in default; we

   will garnish wages.

9. Upon information and belief, Defendant does not have the ability or authority to

   garnish Plaintiff’s wages.

10. Plaintiff has informed Defendant on numerous occasions that her employer does not

   allow her to receive personal calls at work and that it was inconvenient.

11. On March 15, 2011, Defendant, in connection with the collection of the alleged debt,

   by its agent who identified himself as ‘Kurt’, attempted to contact Plaintiff at her

   place of employment after being informed numerous times that Plaintiff’s employer

   does not allow such calls.

12. Within one (1) year preceding the date of this Complaint, Defendant, in connection

   with the collection of the alleged debt, has made several calls to Plaintiff’s place of

   employment on a continued basis with the intent to harass, abuse and annoy Plaintiff

   and her co-workers.



                                V. CLAIM FOR RELIEF

13. Plaintiff repeats and realleges and incorporates by reference to the foregoing

   paragraphs.

14. Defendants violated the FDCPA. Defendants’ violations include, but are not

   limited to, the following:

           (a) Defendant violated §1692c(a)(1) of the FDCPA by communicating at

               a time or place known or which should be known to be inconvenient to

               Plaintiff; and


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          (b) Defendant violated §1692d of the FDCPA by engaging in conduct the

              natural consequences of which is to harass, oppress, or abuse any

              person in connection with the collection of an alleged debt; and

          (c) Defendant violated §1692d(5) of the FDCPA by causing a telephone to

              ring or engaging any person in telephone conversation repeatedly

              and/or continuously with the intent to annoy, abuse or harass any

              person at the called number; and

          (d) Defendant violated §1692e of the FDCPA by using a false, deceptive,

              or misleading representation or means in connection with the

              collection of the alleged debt; and

          (e) Defendant violated §1692e(4) of the FDCPA by giving the false

              representation or implication that nonpayment of the alleged debt will

              result in garnishment of wages of any person when such action is

              unlawful and the Defendant or alleged creditor does not intend to take

              such action; and

          (f) Defendant violated §1692f of the FDCPA by using unfair or

              unconscionable means in connection with the collection of an alleged

              debt.


15. Defendant’s acts as described above were done intentionally with the purpose of

   coercing Plaintiff to pay the alleged debt.

16. As a result of the foregoing violations of the FDCPA, Defendant is liable to the

   Plaintiff, Kristi Coleman, for declaratory judgment that Defendant’s conduct




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       violated the FDCPA, actual damages, statutory damages, and costs and attorney

       fees.



WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant, Continental Service Group, Inc., for the following:

   A. Declaratory judgment that Defendant’s conduct violated the FDCPA.

   B. Actual damages.

   C. Statutory damages pursuant to 15 U.S.C. § 1692k.

   D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

   E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be

       allowed under the law.

   F. For such other and further relief as the Court may deem just and proper.



                             VI. DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Kristi Coleman, demands trial by jury in this action.


                                                      This 21th day of June, 2011.

                                                      ATTORNEY FOR PLAINTIFF
                                                      Kristi Coleman

                                                      Respectfully submitted,
                                                      By: /s/ Kevin J. Buckley, Jr.
                                                      Kevin J. Buckley, Jr.
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